Case 4:18-cr-00317-JST Document1 Filed 04/13/18 Page 1 of 16

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

for the APR 13 2018
Northern District of California SUSAN ¥ SOONG
CLERK US, DISTRICT C4
Z NORT. | \! COURT
United States of America ) RAN OAL ane OF CALIFORNIA
v. |
Aaron Jamal WOODS, 5 Case No. 4 - 1 8 - ( 0 5 0 3
)
)
)

 

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of February 22, 2018 in the county of Alameda in the
Northern District of California , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 922(0)(1) Possession of a machine gun
Penalties:

Max Sentence: 10 years
Supervised Release: 3 years
Fine: $250,000

Special Assessment: $100

This criminal complaint is based on these facts:

Please see attached affidavit.

@ Continued on the attached sheet.

APPROVED AS Coe ZL ol

fi _—— Zo ay ae
ft ae Complainant’s signature

 

AUSA VANESSA BAEHR-JONES Tyler S. Esswein, FBI Special Agent

Printed name and title

Sworn to before me and signed in my presence. \.)
Date: 4 }13/18 (acd Aa
Judge’s signature

City and state: Oakland, California Hon. Kandis A. Westmore
Printed name and title

 

 
Case 4:18-cr-O03)7-JST Document 1. Filed 04/13/13. Page 2 of 16

AFFIDAVIT OF TYLER ESSWEIN
I, Tyler S. Esswein, after being duly sworn, depose and say as follows:
I. INTRODUCTION AND PURPOSE OF AFFIDAVIT

1. This affidavit is submitted in support of a criminal complaint against Aaron Jamal
WOODS (hereinafter WOODS), for possession of a machine gun in violation of Title 18 U.S.C.
§ 922(0)(1) SUBJECT OFFENSE 1). I also submit this affidavit in support of an application for
warrants to search one (1) iPhone 8 cellular phone, white in color, IMEI: 356765081638874
(hereinafter SUBJECT DEVICE 1); and one (1) Motorola Moto E, Model XT1765, gold in color,
IMEI: 355674086335026 (hereinafter, SUBJECT DEVICE 2), currently in the custody of FBI San
Francisco. As set forth below, I believe that SUBJECT DEVICE 1 and SUBJECT DEVICE 2 will
contain evidence, including electronically stored data, of SUBJECT OFFENSE 1, as well as
possession with intent to distribute marijuana, in violation of 21 U.S.C. § 841(a){1), and
possession of a machine gun in furtherance of a drug trafficking crime, in violation of 18 U.S.C.
§ 924(c)(1)(A), (B)Gi) (collectively, the SUBJECT OFFENSES).

2. The facts set forth in this affidavit are based on my review of written reports, my
review of audio-video recorded interviews, my review of evidence items and photographs, my
training and experience, and information from other law enforcement officials. These facts are not
all of the facts related to this investigation that I know. I have set forth only those facts that I
believe are sufficient to establish probable cause that WOODS committed SUBJECT OFFENSE
1, and to establish probable cause that the SUBJECT DEVICES contain evidence of the
SUBJECT OFFENSES.

Il. AGENT’S BACKGROUND

3. I am employed by the Federal Bureau of Investigation (FBI) as a Special Agent and
have been so employed since May 2017. Asa Special Agent of the FBI, I am authorized to
Case 4:18-cr-O0317-JST Document 1. Filed 04/13/18. Page 3 of 16

investigate violations of the laws of the United States, and I am a law enforcement officer with
authority to execute arrest and search warrants under the authority of the United States. I have
received law enforcement training throughout my employment to include graduation from the FBI
Special Agent Academy. During my employment, I have participated in and have spent time

talking with numerous other law enforcement officers regarding these and other investigations.
Iil.FACTS ESTABLISHING PROBABLE CAUSE

A. Arrest of WOODS on February 22, 2018

4. [ have reviewed a report, authored by Oakland Police Department (OPD) Officer
Khyber Mangal on February 22, 2018, and a subsequent supplemental report, also authored by
Officer Mangal on April 2, 2018, documenting the arrest of WOODS and Terry Fammons
(FAMMONS), at an address on 83™ Avenue, Oakland, California, on February 22, 2018. I have
also spoken to other law enforcement officers who were present during the arrest and subsequent
seizure of items of evidence and suspected contraband. Some of the details of those reports and

details from my discussion with other officers present are included below.

5. Officers from the United States Marshals Service Fugitive Task Force (hereinafter,
the Task Force), were conducting surveillance at an address on 83 Avenue, Oakland, California
(hereinafter, the residence), in order to locate a wanted fugitive. Prior to conducting surveillance,
officers conducted a query of the Alameda County Consolidated Records Information
Management System (CRIMS) for the above address to gather more information as to who else
might be residing at that residence. The CRIMS query revealed that WOODS resided at the
address and was on probation out of Alameda County for a firearms-related offense with a four-

way search clause for his person and for this address.’

6. While conducting surveillance, the Task Force observed WOODS and an
individual later identified as FAMMONS, standing on the front porch of the residence.

 

1 For further information on WOODS’ probation terms, please see infra Section F.

2
Case 4:18-cr-00317-JST Document 1. Filed 04/13/13, Page 4 of 16

Approximately nine officers approached WOODS and FAMMONS in order to conduct a
probation compliance check of WOODS and to conduct a security sweep of the residence in order

to locate the wanted fugitive.

7. As officers began to approach the residence, WOODS and FAMMONS were
observed standing outside of a partially-opened security screen at the front door to the residence.
The officers were wearing clearly marked law enforcement placards on their clothes and
protective vests and immediately identified themselves to WOODS and FAMMONS as police.
WOODS ran inside of the residence and closed the door behind him, while FAMMONS remained
outside and complied with the officers’ commands. FAMMONS was handcuffed and a pat down

search of his person was conducted to locate any weapons, with negative results.

8. Upon observing WOODS run into the residence, Agent Richard Harvey and Agent
Stonie Carlson took up a perimeter position at the rear of the residence in order to prevent anyone
from fleeing the residence. Officers detained FAMMONS and conducted a surround and call out
of the residence. The officers continued to announce their presence as police, and issued multiple

verbal commands for WOODS and any other occupants to exit the residence.

9. After multiple verbal commands, WOODS exited the front door of the residence
and was detained. WOODS was handcuffed and a full search of his person was conducted.
Officer Mangal located a wallet from WOODS’ right rear pocket, and approximately $2,001.50 in
U.S. currency in multiple denominations from his left front pocket. Officer Mangal also observed
that WOODS was breathing heavily and sweating profusely.

10. Officers Baron Earl and Joey Guevarra, along with Agents Carlson, Brian Koh, and
Harvey entered the residence to conduct a security sweep for additional occupants. Upon entering
the residence, Agent Harvey and Officer Earl could smell a strong odor of unburned marijuana
emanating from inside. Officer Earl and Agent Harvey observed a small table on the right side of
the front room, just past the front door, on top of and around which they observed multiple bags of
suspected marijuana, suspected cannabis products, suspected hashish oil, digital scales, and

apparent packaging materials in plain view. Officer Earl and Agent Harvey also observed an open
Case 4:18-cr-O0217-JST Document 1. Filed 04/13/18. Page 5 of 16

black gun box containing loose ammunition and an extended magazine in an open drawer of the

same table.

11. Officers continued their protective sweep of the residence, but did not locate any

additional occupants.

12. Based on evidence of suspected marijuana possession and items of suspected
marijuana trafficking (i.e., digital scales and packaging materials), as well as evidence of firearms
possession (i.e., gun box, extended magazine, and loose ammunition), officers elected to exercise
WOODS?’ four-way search clause and began to search the residence for further weapons,

contraband, and/or evidence.

13. Officer Earl knew WOODS to be active to probation. Officer Earl advised
WOODS that the residence was to be searched per the terms of his probation. Officer Earl asked
WOODS to whom the residence belonged and WOODS responded that it belonged to his mother.
WOODS advised that his mother was at work and was not expected to return until later that
evening. Officer Earl then advised WOODS that the officers had authority to search the entire
residence and asked WOODS to tell him where the gun was located in order to expedite the

search.
14. | Woods advised that the gun was in the back left bedroom under some clothes.

15. | While searching a bedroom located to the rear of the residence, in the southwest
corner, Agent Carlson was advised by Officer Earl that WOODS?’ stated that there was a firearm in
a black bag located in that bedroom. Agent Carlson located a black Jeep brand Duffel bag
underneath some clothing, to the right of the bed, in pile of clothing on the floor about knee high.
Upon removing the clothing on top of the bag, Agent Carlson observed a Draco assault rifle in the

bag.

16. Officer Mangal and Agent Carlson placed the black Jeep brand Duffle bag on the

bed and found it to contain one Glock model 23 .40 caliber handgun and one Draco assault rifle.
Case 4:18-cr-O0317-JST Document 1. Filed 04/13/18 Page 6 of 16

17. | Agent Koh and Agent Harvey rendered the pistol from the black Jeep brand bag
safe, observing it to be a Glock Model 23 .40 caliber handgun, black in color, and bearing serial
number CFY933. The pistol was found to contain one (1) 30-round capacity magazine, containing
an unknown number of unspent .40 caliber rounds of ammunition, seated in the pistol. One (1)

unspent round of .40 caliber ammunition was also located in the chamber of the pistol.

18. Agent Koh and Agent Harvey rendered the assault rifle from the black Jeep brand
bag safe, observing it to be a 7.62 caliber assault rifle, brown and black in color, bearing serial
number DR695909. One (1) extended magazine, black in color, containing an unknown number
of 7.62 caliber rounds was removed from the rifle. One (1) unspent 7.62 caliber round of
ammunition was removed from the chamber of the rifle. Also located in the same black Jeep
brand bag was one (1) drum magazine, containing an unknown number of unspent 7.62 caliber

rounds.

19. Agent Harvey located one (1) piece of mail in the name of Anthony Joseph Woods,
addressed to the residence on 83" Avenue, on a desk in the same room in which the firearms were
located. As detailed below, WOODS later told investigators that Anthony Woods is his brother,

and is currently incarcerated.

20. Ontop of the table located near the front door, Officer Mangal and Agent Harvey
located multiple clear plastic bags containing a loose green leafy substance of suspected
marijuana; four (4) black digital scales and one (1) empty digital scale box; four (4) Nice brand
boxes of small sandwich bags; and one (1) white iPhone with a black charging port connected (as

described further below, SUBJECT DEVICE 1).

21. Inside of a white grocery bag on the ground next to the table, Officer Mangal and
Agent Harvey located multiple clear Ziploc bags containing clear cylindrical/syringe containers
containing a brown/off-brown sticky liquid substance of suspected hashish oil. Inside of the same
white grocery bag, Officer Mangal and Agent Harvey located multiple clear bags containing a

green leafy substance of suspected marijuana, and one (1) edible product of suspected cannabis.

22, From a burgundy Cookies brand backpack located on the ground next to the table,
Case 4:18-cr-O0317-JST Document 1. Filed 04/13/13 Page 7 of 16

Officer Mangal and Agent Harvey located a large clear bag of green leafy substance of suspected

marijuana.

23. From inside of the open drawer of the table, Officer Mangal and Agent Harvey
located one (1) black Rock Island Armor gun box, bearing serial number RIA1662661. Inside of
the black gun box, Officer Mangal and Agent Harvey located one (1) 31-round capacity magazine,
containing an unknown number of unspent rounds of ammunition. Inside of the same box, Officer
Mangal and Agent Harvey located a clear plastic bag containing an unknown number of unspent
.357 caliber rounds of ammunition. Also located inside of the drawer of the table was one (1) box

of federal Ammunition, containing 12 rounds of unspent 9mm Luger ammunition.

24. Sitting on top of a couch located on the south side of the living room, Officer
Mangal and Agent Harvey located one (1) gold Motorola GK40 cellular phone (as described
further below, SUBJECT DEVICE 2).

25. Based on the evidence located and recovered from within the residence, WOODS
and FAMMONS were placed under arrest and transported to the OPD Criminal Investigations
Division in Oakland, California.

26. Incident to arrest, a search of FAMMONS’ person was conducted and Officer
Mangal located approximately $1,871.00 of U.S. currency, in multiple denominations, and identity
documents--to include a California Identification card and a Bank of America Visa debit card,

both in the name of FAMMONS--in a green wallet, located in his right front pants pocket. |

B. Interview of WOODS

2/7. That same day, OPD Officer Michael Jaeger and Agent Harvey interviewed
WOODS at the Criminal Investigations Division of OPD. J have reviewed the recording of the
interview and learned the following information.

a. WOODS was advised of his constitutional rights under Miranda, utilizing a
standardized OPD Advice of Rights Form. WOODS acknowledged verbally that
Case 4:18-cr-00317-JST Document1 Filed 04/13/18 Page 8 of 16
fo a

he understood his rights and also initialed the form. Some of the details of that

interview are summarized below.

b. WOODS indicated that he was arrested earlier in the day after a probation search
was conducted and officers located two (2) firearms in his bedroom. WOODS
stated that the bedroom belongs to him and that nobody else stays in that bedroom.
WOODS described both firearms in detail.

c. WOODS indicated that officers found a pistol, which he identified as a Glock
Model 23 .40 caliber, with a 30-round magazine and a live round in the chamber.
Woods purchased this pistol off the streets, approximately five to six months prior,

for approximately $1,100.

d. WOODS admitted that a sear on the rear of the Glock pistol enables the firearm to
shoot in full automatic mode. WOODS advised that the sear was put on since the
time that he purchased the pistol. WOODS purchased the sear from an individual
in Stockton, California, whom he refused to identify further. WOODS indicated
that he did not install the sear himself, but knows that it works, because he test fired
it on approximately January 1, 2018. On that occasion, WOODS fired the pistol in
the air on the same block where he was arrested earlier in the day. WOODS
acknowledged that he knew if you engage the selector switch on the sear and press
the trigger, the pistol fires on full automatic mode until you take your finger off the
trigger. WOODS admitted that he picked up the spent shell casings after he test
fired the pistol. WOODS advised that he only fired the pistol on that one occasion.

e. WOODS advised that he kept the pistol in a drawer near the front door. When the
police came to the door, WOODS took the pistol and hid it in a back room where
he kept his rifle. WOODS later stated that the bedroom where he hid the firearms
belongs to his brother, Anthony Woods, who is currently incarcerated. WOODS
admitted that he hid the firearms in his brother’s room, believing that law
enforcement would not search there. WOODS indicated that he hid the firearms

underneath some clothing in the bedroom.

7
Case 4:18-cr-00317-JST Document1 Filed 04/13/18 Page 9 of 16
am, p=

f. WOODS advised that he has never shot at anyone with the pistol. WOODS stated
that the pistol belongs to him and him only. WOODS advised that FAMMONS
may have previously handled the pistol, but did not think that FAMMONS has ever
fired it.

g. WOODS described a Draco AK47-style rifle, with a wooden stock, which officers
found in the residence. WOODS purchased the rifle approximately one week prior,
off the streets, for approximately $1,500. WOODS advised that he has never fired
the rifle. WOODS did not believe that FAMMONS has ever handled the rifle.

h. WOODS identified a large capacity .40 caliber magazine and loose ammunition of
various calibers, which were found in a drawer near the front door. WOODS
indicated that these items were from previous firearms which he used to possess,

but has since gotten rid of.

i. WOODS admitted that there was approximately 1.5 pounds of marijuana at the
residence at the time of his arrest, and that the marijuana belongs to him. WOODS
sells marijuana from the front porch of the residence along with FAMMONS.
WOODS knows that marijuana is illegal to some extent, and knows that you are not
allowed to possess too much of it. WOODS admitted that he knew he was not

supposed to have marijuana without a marijuana card, which he does not possess.

j. WOODS admitted that he keeps a lot of cash, which is proceeds from the sale of
marijuana, and thus has the firearms to protect him and his marijuana business.
WOODS advised that FAMMONSs was previously shot on the front porch of the
residence by other people on the block who may have felt that WOODS and
FAMMONS were trying to take over their territory. WOODS indicated that he had
approximately $1,800-1,900 in currency on him at the time of arrest. WOODS

advised that this money was proceeds from the sale of marijuana.
Case 4:18-cr-00317-JST Document 1 Filed 04/13/13 Page 10 of 16

k. WOODS reiterated that both of the firearms from the residence belong to him and
nobody else. WOODS advised that FAMMONS may have attempted to take
ownership of the firearms because FAMMONS knew WOODS would be ina

predicament because of the guns.

l. WOODS identified a white iPhone, with a battery pack on the back of it
(SUBJECT DEVICE 1) as his cellular phone. WOODS provided officers with a
signed Consent to Search form to view the contents of this device. WOODS
provided his mobile telephone number as 510-880-XXXX and identified the

passcode.

m. Agent Harvey used the passcode provided by WOODS to access the contents of
SUBJECT DEVICE 1, and found it to be an iPhone 8, with the IMEI:
356765081638874. Agent Harvey reviewed the photos and videos on this device,
and found numerous photographs of WOODS, FAMMONS, and other, unidentified
individuals. Agent Harvey also observed photographs of what appeared to be
marijuana and multiple photographs of various firearms, to include firearms Agent
Harvey recognize to be an AR-15 style assault rifle, and multiple Glock brand
pistols on SUBJECT DEVICE 1.

pn. WOODS admitted that he has photographs of marijuana and firearms on SUBJECT
DEVICE 1. WOODS denied that any of the photographs were of the Draco rifle or
the Glock pistol located in the residence. WOODS refused to provide any further
information about the firearms photographs located on SUBJECT DEVICE 1.

C. Interview of FAMMONS

28. Also on February 22, 2018, OPD Sergeant Richard Vass and Agent Harvey
interviewed FAMMONS at the Criminal Investigations Division of OPD. I have reviewed the
video recording of the interview and learned the following.

a. FAMMONS was advised of his constitutional rights under Miranda, utilizing a
Case 4:18-cr-00317-JST Document 1 Filed 04/13/13. Page 11 of 16

standardized OPD Advice of Rights From. FAMMONS verbally acknowledged
that he understood his rights and initialed the form. Some of the details of that

interview are summarized below.

b. FAMMONS provided multiple conflicting statements regarding the firearms and
suspected narcotics which were found at the residence. FAMMONS at first
indicated that everything found in the residence was his. When asked follow-up
questions, however, FAMMONS provided inconsistent descriptions of the firearms,
the amount of suspected marijuana, and where these items were located in the
residence. When FAMMONS was confronted about his inconsistencies, he then
indicated that nothing in the residence belonged to him, but refused to identify the
person to whom the items belonged. FAMMONS later provided a statement that
some of the marijuana in the residence was his, but denied ownership of anything

else.

c. FAMMONS identified a gold Motorola cellular phone (SUBJECT DEVICE 2) as
belonging to him. FAMMONS provided his telephone number as 510-880-XXXX.
FAMMONS was asked if he would be willing to sign a standardized OPD Consent
to Search form, to allow officers to search SUBJECT DEVICE 2 to corroborate his
story. FAMMONS advised that he did not consent to allowing officers to view the
contents of his phone outside of his presence, but was willing to allow officers to
view his photographs with him accessing the device and officers looking over his

shoulder.

d. On SUBJECT DEVICE 2, Agent Harvey observed a video, which appeared to
show an individual holding a Glock pistol, similar to the Glock Model 23 .40
caliber pistol recovered from the residence earlier that day. FAMMONS identified
himself as the person in this video and indicated that this was the same pistol

located in the residence. Agent Harvey also observed a video of what appeared to

10
Case 4:18-cr-O03]7-JST Document 1 Filed 04/13/1g, Page 12 of 16

be FAMMONS, holding a quantity of a green leafy substance, consistent with

marijuana.

e. FAMMONS was again confronted about the multiple inconsistencies in his
statements. FAMMONS admitted that he did occasionally sell marijuana.
FAMMONS denied that the large amount of U.S. currency found on his person was
the proceeds from the sale of marijuana. FAMMONS admitted that he handled the
Glock pistol, as evidenced in the video on SUBJECT DEVICE 2, and also admitted
to having handled the Draco rifle earlier in the day. FAMMONS concluded his
statement by denying that either of the firearms belonged to him, but further

refused to identify to whom they belonged. The interview was concluded.
D. Review of Evidence Items from the Oakland Police Department

29. [have spoken with Agent Harvey, who advised that he has reviewed evidence
items seized from the residence on 83"? Avenue on February 22, 2018. Agent Harvey advised that
the suspected marijuana and hashish oil is currently pending laboratory analysis. Agent Harvey
advised that the gross weight of the bulk suspected marijuana, to include original packaging
material and evidentiary packaging material is approximately 1.695 pounds, or 769.84 grams.
Agent Harvey further advised that this figure is specific to the bulk leafy green substance only,
and not the suspected hashish oil.

30. On February 23, 2018, the FBI took custody of the Glock Model 23 .40 caliber
pistol bearing serial number CFY933 from the OPD Property Section. Included with the pistol
was one (1) 30-round capacity .40 caliber magazine containing an unknown amount of unspent .40
caliber ammunition, which was seated in the pistol; and one (1) unspent .40 caliber round of
ammunition from the chamber of the pistol, at the time of seizure. Agent Harvey examined the
30-round capacity .40 caliber magazine and found it to be loaded with 20 unspent rounds of .40

caliber ammunition.

11
Case 4:18-cr-O003)7-JST Document 1 Filed 04/13/13. Page 13 of 16

31. OnFebruary 26, 2018, the FBI took custody of the Draco 7.62 caliber assault rifle
bearing serial number DR695909 from the OPD Property Section. Included with the rifle was one
(1) 30-round capacity banana clip containing an unknown number of unspent 7.62 caliber
ammunition, which was seated in the rifle, and one (1) unspent round of 7.62 ammunition, which
was located in the chamber of the rifle at the time of seizure. Agent Harvey examined the 30-
round capacity banana clip was found to contain 17 unspent rounds of 7.62 caliber ammunition.
Also included was one (1) high capacity drum magazine, containing an unknown number of
unspent 7.62 caliber rounds of ammunition, which was found in the same black Jeep brand bag
with the rifle and pistol. Agent Harvey examined the drum magazine and found it to contain 68

unspent rounds of 7.62 caliber ammunition.
E. Test Fire of Glock Model 23 .40 Caliber Pistol on February 24, 2018

32. [have reviewed a report authored by Agent Harvey on February 27, 2018, along
with photographs and video recordings, documenting a test fire conducted of the Glock Model 23
40 caliber pistol. Some of the details of that report, my review of the recordings, and my

conversation with Agent Harvey are included below.

33. On February 26, 2018, FBI Special Agent Kenneth Karch, who is the Primary
Firearms Instructor (PFI) for the San Francisco Division of the FBI, and Agent Harvey test-fired
the Glock model 23 .40 caliber pistol bearing serial number CFY933 at the Alameda County
Sheriff's Office firing range. Agent Harvey loaded the pistol with the original 30-round capacity
A0 caliber magazine seated in the pistol at the time of seizure, containing 30 test-fire rounds of

live .40 caliber ammunition.
34. SA Karch disengaged the selector switch on the sear, which was located at the rear

of the pistol, causing the pistol to operate in semi-automatic mode. While in this mode, SA Karch

was able to fire three (3) separate rounds, with three (3) separate functions of the trigger.

12
Case 4:18-cr-O03}7-JST Document 1 Filed 04/13/13. Page 14 of 16

35. SA Karch then engaged the selector switch on the sear, causing the pistol to operate
in automatic mode. Upon doing so, SA Karch was able to fire multiple rounds, without manual

reloading, by a single function of the trigger.
F. Review of Superior Court Documents for WOODS

36. As part of this investigation, I have reviewed documents from the Superior Court of
California, County of Alameda for WOODS, under docket number 608747, CEN: 5325256.
Included in the documents was the Clerk’s Docket and Minutes, which indicate that WOODS
entered a no contest plea to two (2) counts of violating California Penal Code Section
25400(a)(1)}—Carrying a Concealed Firearm within a Vehicle, and that WOODS stipulated to a
factual basis for the plea. Also included, was a Superior Court of California, County of Alameda
Terms and Conditions of Conditional Sentence, which was signed by WOODS on October 29,
2015. The terms specify that WOODS is placed on Conditional Sentence for a period of 36
months, and is subject to, among other conditions, a standard four-way search condition, which
states “Submit to warrantless search and seizure by any law enforcement officer at any time of the

day or night, including: person, place of residence, vehicle, and any property under your control.”

IV. KNOWLEDGE, TRAINING, AND EXPERIENCE REGARDING NARCOTICS
TRAFFICKING AND FIREARMS POSSESSION

37. Based upon my training and experience, as well as conversations with other law
enforcement officers, I know that persons involved in the possession and/or distribution of
narcotics often employ the use of communications devices such as cellular telephones to
communicate via telephone calls, text message, SMS message, MMS message, and voicemails,
with their customers and/or their suppliers. In my experience investigating criminal activity, I
have learned that narcotics couriers involved in drug trafficking operations often use digital
devices, including cellular telephones, computers permitting access to electronic mail and. other
instant messenger services, and digital storage devices to communicate with one another about,

and in furtherance of, those operations. For example, narcotics couriers often use digital devices,

13
Case 4:18-cr-O0317-JST Document 1 Filed 04/13/18. Page 15 of 16

including cellular telephones, electronic mail, instant messengers, and storage devices to
communicate with narcotics suppliers to provide status updates on the narcotics couriers’
locations, and to receive instructions from narcotics suppliers relating to whom and where they
will meet the person receiving the contraband. Similarly, the narcotics suppliers involved in the
packaging, loading, and unloading of smuggled contraband will use digital devices, including
cellular telephones, computers permitting access to electronic mail and other instant messenger
services, and digital storage devices to communicate with additional narcotics suppliers and
narcotics couriers involved in packaging and shipping of drugs, to recruit other members to the
drug trafficking operation, to coordinate travel and meetings, and for other purposes connected

with the drug trafficking operation.

38. [know that cellular telephones are often programmed for speed dialing, contain
direct contact lists, and recent call activity. I know that persons involved in the possession and/or
distribution of narcotics will often keep records, notes, communications, photographs, and/or

videos related to their unlawful activities stored within cellular telephones.

39. Additionally, I know that persons involved in the possession and/or distribution of
narcotics often carry firearms on their person or keep them in their residence and/or vehicles in
order to protect their products and the cash revenues received from the sale of these products. I
know that persons involved in the possession and/or distribution of narcotics will often keep
photographs and/or videos demonstrating their possession of such firearms stored within their
cellular telephones. Individuals involved in the illicit purchase of firearms and firearms
accessories will also frequently communicate with those supplying these items over text and

through phone calls, resulting in evidence of these purchases being found on their digital devices.
V. CONCLUSION
40. Based on the foregoing facts, my training and experience, and consultation with
other law enforcement agents, I believe WOODS, on or about February 22, 2018, in the Northern

District of California, did possess a machine gun, in violation of 18 U.S.C. § 922(o). I respectfully

14
Case 4:18-cr-00317-JST Document1 Filed 04/13/18 Page 16 of 16

request the issuance of a criminal complaint charging WOODS with the same and a warrant for his

arrest.

Al. Based on the foregoing facts, my training and experience, and consultation with
other law enforcement agents, I believe that the electronically stored information contained on
SUBJECT DEVICE 1 and SUBJECT DEVICE 2 is likely to contain evidence of the
aforementioned SUBJECT OFFENSES, and therefore respectfully request a warrant, authorizing
the search of these devices, which are currently in the custody of currently in the custody of FBI

San Francisco.

DATED this 13 __ day of April 2018.

 

Tyler S. Esswein
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me this | er \?__ day of April 201 WJ

fa at

KANDIS A. WESTMORE
United States Magistrate Judge

 

15
